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                  IN THE UNITED STATES DISTRICT COURT FOR
                      THE MIDDLE DISTRICT OF ALABAMA
                             NORTHERN DIVISION

UNITED STATES OF AMERICA                      )
                                              )
v.                                            )          CASE NO. 2:10-cr-005-MEF
                                              )
BRADLEY COOK                                  )

                                       ORDER

       Upon consideration of the defendant's Motion to Continue Sentencing and Sentencing

Due Dates (Doc. #68) filed on August 10, 2010, it is hereby

       ORDERED that the motion is GRANTED. The sentencing hearing set for September

1, 2010 is continued until further order of the Court.

       DONE this the 11th day of August, 2010.


                                                   /s/ Mark E. Fuller
                                           CHIEF UNITED STATES DISTRICT JUDGE
